 

Case 3:18--cr -00005- D Document
AO 91 (Rev. 08/09) CrirninalComplaint “~`» ~ .

UNITED STATES DISTRICT CC¢URT
for the DEC l 220|7

Northern District of Texas ,
QII§ERK, U.S.DI§~ :F§CT COURT

n y r
fiqu .

 

 

 

 

 

 

 

 

 

United States of America )
v. )
cHRIsToPHER MAURlcE DAN|ELS § Case N°' 31\/\' IV\`§`» O[\Q'BL
)
)
Defendant(s)
CRIMINAL CoMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of December 12, 2017 in the county of Dallas in the
Northem District of Texas , the defendant(s) violated:
Coa’e Section ' v Ojj”ense Description
18 U.S.C. 922(9)(9) Prohibited person in possession of a firearm

This criminal complaint is based on these facts:

See attached affidavit Specia| Agent Aaron Keigh|ey

Continued on the attached sheet.

y /Comjl%aam ’s Sl`gnalure

Soecia| AqentAaron Kei lev, B|
Pri te n me and title

   
  

 

SWorn to before me and signed in my presence.

Date: 12/12/2017

 

   

\/ leg\e~’&{gnate
City and state: Da||as, Texas Renee Harris To|iver, United St at |V|agistrate Judge

 

Printed name and title

 

Case 3:18-cr-00005-D Document 1 Filed 12/12/17 Page 2 of 6 Page|D 2

AFFIDAVIT

I, Special Agent Aaron W. Keighley, being first duly sworn, hereby depose and
state as follows:

I. v INTRODUCTION

l. This Afflant is a Special Agent of the F ederal Bureau of Investigation
(FBI). I entered on duty with the FBI in October 2003 and was appointed as a Special
Agent in November 2006. Since that time, l have investigated White Collar Crimes for
approximately ten years and crimes related to Domestic Terrorism for approximately one
and one half years. l am authorized to investigate violations of Federal laws, including
violations of Title 18 U.S.C. § 922(g)(9) (Unlawful acts regarding the possession,

. purchase, and shipment of firearms), and have received training in conducting criminal
investigations regarding these violations.

2. This affidavit is in support a criminal complaint charging Christopher
Maurice Daniels with being a prohibited person in possession of a firearm, in violation of
18 U.S.C. § 922(g)(9). Specifically, there is probable cause that on or about December
12, 2017, in the Dallas Division of the Northern District of Texas, the defendant,
Christopher Maurice Daniels, having been convicted of a misdemeanor crime of domestic
violence, did knowingly possess in and affecting interstate commerce firearms,
specifically, (l) a Taurus' Protector Poly 38 special (bearing serial number JZ27l75) and

(2) a Norinco AK-style assault rifle (bearing partial serial number 21 191).1

 

ll The serial number on the Norinco AK-style assault rifle was partially blocked by an aftermarket stock.

Affidavit_Page 1 of 5

Case 3:18-cr-00005-D Document 1 Filed 12/12/17 Page 3 of 6 Page|D 3

3. The facts set forth in this affidavit are based upon knowledge obtained
during my participation in this investigation, and is intended to show merely the fact
there is sufficient probable cause for the requested Warrant. This affidavit does not
necessarily set forth all of my knowledge about this matter, and therefore only those facts
necessary to establish probable cause will be discussed.

III. BACKGROUND INFORMATION

4. The investigation of Christopher Maurice Daniels stemmed from open-
source reporting, social-media posts (namely Facebook and YouTube), and other
investigative techniques that identified Daniels as marching with and possessing and
carrying a rifle. Daniels was interviewed by a WFAA news reporter during one such
march in which Daniels was carrying a rifle. Daniels has continued to post videos to his
personal, open Facebook profile in which he openly and publicly advocates violence
toward law enforcement

5. In February 2007, Daniels was convicted of Domestic Assault in the
General Sessions Court, Tipton County, Tennessee. l understand that Daniels’s
conviction of Domestic Assault is a “misdemeanor crime of domestic violence” under 18
U.S.C. § 922(g)(9). As a result of his conviction, Daniels is prohibited from possessing a
firearm under 18 U.S.C. § 922(g)(9).

6. Most recently, l became aware that on November 17, 2017, Daniels
planned to travel to Detroit, Michigan, for the purpose of conducting a firearm related
training event which was scheduled to take place on November 18, 2017, in Detroit,

Michigan. Fliers for the training had been posted on Daniels’s Facebook page and were

Affidavit-Page 2 of 5

Case 3:18-cr-00005-D Document 1 F.i|ed 12/12/17 Page 4 of 6 Page|D 4

viewed by Affiant prior to the scheduled event.

7. l was made aware that Daniels booked travel through Spirit Airlines
(Spirit) for November l7th; however, he then changed his reservation for departure on
November 18, 2017. Also, l learned that Daniels placed a firearm in his checked luggage
upon arrival to DFW Airport for his November 18th flight to Detroit.

8. During Daniels’s travel, and presumably due to Daniels’s change in flight
reservations, Daniels’s checked luggage was delayed en route to Detroit, Michigan.
Daniels was scheduled to return to Dallas, Texas late the next day (November l9, 2017)
and therefore requested that Spirit send the luggage back to Dallas once it was located.

9. Upon Daniels’s return to Dallas on the evening of November l9, 2017,
Spirit’s records show that Daniels requested that Spirit deliver the luggage to 5850
Beltline Road, Apartment #7()7, Dallas, Texas 75254 (hereinafter, “the Rock Creek
'Apartment”). Upon exiting the airport, FBI Agents observed Daniels being driven to the
Tom Thumb grocery store located at 14999 Preston Road, Dallas, Texas 75254, which is
located in close proximity to the Rock Creek apartment complex. Agents then observed
Daniels walking toward the Rock Creek apartment complex.

lO. On November 21, 2017, FBI Agents assigned to the Dallas Fort Worth
Intemational Airport spoke with representatives from Spirit, who provided a copy of the
Spirit portion of a claim check used for checking a firearm in luggage aboard Spirit
aircraft. The claim check contained Daniels signature and “Bag Tag #0487720939.”
Spirit personnel stated Daniels would have retained another part of the claim check,

which would contain the same “Bag Tag” number.

Affidavit_Page 3 of 5

 

Case 3:18-cr-00005-D Document 1 Filed 12/12/17 Page 5 of 6 Page|D 5

ll. On November 28, 2017, FBI Agents assigned to the Dallas Division
observed Daniels leaving the Rock Creek Apartment and arriving at his workplace in
Carrollton, Texas. Based on the fact Daniels left the Rock Creek Apartment in the
morning and commuted to his workplace, combined with the fact Daniels’s luggage was
delivered to the Rock Creek Apartment, it is reasonable for Affiant to believe it is
Daniels’ s primary residence.

l2. On December 5 , 2017, l received correspondence from a representative of
the Spirit Airlines Luggage Resolution Department, who provided additional information
related to the firearm checked by Daniels. The correspondence contained a screenshot
showing traveler claim check #0487720939 was related to a “Type 6l” classification,
which Spirit categorized as a weapon. The “Content description” was written as a
“Taurus Poly Protector 38 Special +P,” which I understand is a .38 caliber handgun.

l3. The correspondence provided by the Spirit Airlines Luggage Resolution
Department also stated Daniels’s luggage was delivered to him on November 20, 2017, at
9:56 pm. The only address on file with Spirit was the Rock Creek Apartment.

14. On December 7, 2017, I obtained a search warrant for the Rock Creek
Apartment from Magistrate Judge Irma Carrillo Ramirez, which was executed on
December 12, 2017. During the execution of the search at the Rock Creek Apartment,
agents seized (l) a Taurus Protector Poly 38 special (bearing serial number JZ27l75) and
(2) a Norinco AK-style assault rifle (bearing partial serial number 21191). The Norinco
AK-style assault rifle was located with Daniels in Daniels’s bed. It was unloaded. A

1 fully loaded magazine was located nearby. The Taurus Protector Poly 38 special was

Affidavit-Page 4 of 5

Case 3:18-cr-00005-D Document 1 Filed 12/12/17 Page 6 of 6 Page|D 6

loaded. The agents also found approximately 50 to 100 rounds of 7.67 caliber
ammunition.

15. On December 12, 2017, I'conferred with a ATF task force officer who
advised me that both firearms_the Taurus Protector Poly 38 special (bearing serial

v number JZ27175) and the Norinco AK-style assault rifle (bearing partial serial number
21191)_were not manufactured in the state of Texas and therefore travelled in interstate
and/or foreign commerce at some point prior to being located at the Rock Creek
Apartment.
V. CONCLUSION

16. Based on all of the foregoing, there is probable cause to believe that on or
about December 12, 2017, in the Dallas Division of the 'Northem District of Texas,
Christopher Maurice Daniels violated 18 U.S.C. § 922(g)(9). 1 therefore ask that a

warrant for the arrest of Christopher Maurice Daniels be issued..

   
   

ron W.
Special gent
Federal Bureau of Investigation

  

1

LH NoRABL,é RhNE:/h s ToLi
G

ED S ATES M ISTRATE IUDGE

  
 

 

 

 

Affidavit_Page 5 of 5

 

